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                                                           CLAIM FORM
                                  IN RE: FEMA TRAILER FORMALDEHYDE PRODUCT LIABILITY LITIGATION
                                       CLASS ACTION SETTLEMENT – CONTRACTOR SETTLEMENT

                                                                                           CLASS MEMBER OR CLAIMANT INFORMATION
                                                                                 Write any name and address corrections below or if there is no pre-
                                                                                printed data to the left, you must provide your name and address here:
[PRE-ADDRESSED LABEL TO POTENTIAL
CLASS MEMBER OR REPRESENTATIVE APPEARS HERE]
                                                                               Full Name


                                                                               Mailing Address


                                                                               City                                     State         Zip

 You may be entitled to Class Benefits if you are someone who claims to have been exposed to formaldehyde in a trailer or park model trailer
 that was provided by FEMA to persons displaced by Hurricanes Katrina and/or Rita.
 You may be a member of the Class to which this settlement applies. A lawsuit pending in the United States District Court, Eastern District of
 Louisiana, groups together numerous actions that had been filed in courts in Alabama, Mississippi, Louisiana, and Texas. The Plaintiffs and
 certain Defendants have reached a proposed class action settlement. This package of materials (the “Class Notice Package”) describes the
 proposed settlement of this class action lawsuit and has been sent to you by order of the Court because you may be a member of the Class and
 must make a decision about whether to remain in the Class. If you remain in the Class, you will be entitled to make a claim for the Class Relief
 afforded by this settlement, which is a cash award.
 This settlement only applies to those who resided in travel trailers or park model trailers. It does not apply to those who resided in Manufactured
 Homes. If you have hired a lawyer to represent you for your claims in this litigation, please contact your lawyer for more information. If you have
 any questions, please call 1-800-728-1628.
 To be fully informed about the benefits and implications of the proposed settlement you may read all the documents included in this Class Notice
 Package and you may also review the full settlement materials on www.femaformaldehydelitigation.com, including the Settlement Agreement.
                                                                   CLAIM FORM
 You need to submit this Claim Form, postmarked by October 12, 2012, to receive Class Benefits under this settlement. If you are a
 Class Member and you do not timely submit a Claim Form, you will not be eligible for any benefits under this settlement. Unless you timely
 exclude yourself from the Class by August 17, 2012, you cannot sue the Defendants over the claims settled in this case, even if you do not
 receive Class Benefits because your Claim Form was untimely.
 This Claim Form asks specific questions about you, the Class Member. Please complete the Claim Form to the best of your ability. Note: You
 must provide your full name, your social security number, your gender, your date of birth, and your address to receive Class Benefits.
 If you do not provide these items and you do not opt-out of the settlement, you will still be bound by the Settlement Agreement and its release
 even though you will not be eligible to receive any money from the settlement. If you do not have or know certain information that is asked for,
 other than your full name, gender, date of birth, social security number and address, you may leave parts of this Claim Form blank and submit
 this Claim Form anyway. The Special Master will make a good faith attempt to process the Claim Form by seeking additional information from
 you. Obviously, the more information you can provide, the more likely your claim can be effectively processed.
 Please supply the following information, along with the Class Member or Claimant Information above:

 Full Name of Class Member:

 Social Security Number of Class Member :

 Gender of Class Member:

 Date of Death of Class Member, if applicable:

 Telephone Number of Class Member:

 Date of Birth of Class Member:

 Address of Class Member:
 Contractor who installed, maintained or refurbished the
 travel trailer or park model trailer provided by FEMA (If
 you know it. Otherwise leave it blank and submit this
 Claim Form anyway.
 Vehicle Identification Number (“VIN”) or Serial Number
 of the travel trailer or park model trailer provided by
 FEMA. Otherwise leave it blank and submit this Claim
 Form anyway.
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Description of any injuries you claim you suffered from
or are related to formaldehyde exposure in the
emergency housing unit. (If you claim injury from or
related to formaldehyde exposure in the travel trailer or
park model trailer.. Otherwise, write “not applicable”
and submit this Claim Form anyway).

If you reside(d) or live(d) in a travel trailer or park model
trailer, please provide the address & dates of residence         _____________________________________________________________


If you didn’t actually reside in a travel trailer or park
model trailer, please provide the following information:
 The date(s)      you    claim   your    symptoms/injuries
occurred:                                                        ____________________________________________________________
Any information you have to support your claim:


                                                                 ____________________________________________________________
The person to whom the FEMA trailer in which you
Claim to have suffered symptoms/injuries:
                                                                 _____________________________________________________________


* Capitalized terms used in this               Claim    Form    are   defined   in   the   Settlement   Agreement,    which    can    be   found    on
www.femaformaldehydelitigation.com.


DOCUMENTS:           Please attach the following documents to your Claim Form, if you have them: (1) documents reflecting that you made a
permanent or temporary shelter out of the travel trailer or park model trailer provided by FEMA; (2) documents reflecting that such trailer was
installed, maintained or refurbished by a Defendant; and (3) documents reflecting the VIN or serial number of the trailer, if you have any.
Even if you don’t have these documents you may still qualify and you can submit the Claim Form anyway. Anything related that you do
have may help the Special Master see if you qualify for Class Benefits. Please don’t include any correspondence between you and your
attorney.
                                                       CLASS MEMBER DECLARATION FORM


I certify that I have read this Claim Form; I believe I am a member of the Class, that I am eligible for Class Benefits; all of the information on this
Claim Form is true and correct to the best of my knowledge; I have attached to, or enclosed with this Claim Form all documents that I have been
able to locate; I have not assigned any of my rights in this Action or any Pending Action to anyone else.



                      Signature of Class Member
[PLEASE COMPLETE OTHER CLAIM FORM PROVIDED, IF YOU ALSO WISH TO PARTICIPATE IN THE “MANUFACTURER”
SETTLEMENT]
If you are a representative filing this Claim Form on behalf of a Class Member, please have that Class Member sign the “Signature of Class
Member” line, and in addition, please fill out the following information:
           Claimant/Representative:                    __________________________
           Address:                                    __________________________
           Phone Number:                               __________________________
           Social Security No.                         __________________________
           Date of Birth:                              __________________________
           Relationship to Class Member :              __________________________
Claim Forms and supporting documents must be postmarked by October 12, 2012.
Please mail to:

                                               FEMA TRAILER LITIGATION CLAIMS ADMINISTRATOR
                                                                P.O. Box 82565
                                                         Baton Rouge, Louisiana 70884

                        Questions? Call 1-800-728-1628 TOLL FREE, OR VISIT www.femaformaldehydelitigation.com


                                                          FOLD INTO THIRDS AND RETURN
